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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

                    Plaintiff,

       vs.                                         Case No. 21-cr-444-JEB


BRIAN CHRISTOPHER MOCK,

                    Defendant.


      DEFENDANT’S MOTION TO MODIFY BOND CONDITIONS
              (GPS-MONITORING AND CURFEW)

       Brian Mock, by counsel, moves the Court to remove his pretrial

release’s GPS-monitoring and curfew conditions 1 because neither is

reasonably necessary to assure his appearance or keep the public safe.

Counsel attempted to learn the District’s U.S. Probation Office’s position on

this motion, but an email inquiry sent last week hasn’t been returned.

Counsel learned from Mock’s local supervising officer that the local U.S.

Probation Office does not take a position.




1      The conditions are items 7.p. and 7.q. in Mock’s release order. (See DE 52:2-
3.)
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      1.     Mock was released to the community on May 24, 2022—that

was 8 months ago. (See DE 50.) If he had any intention of fleeing, or if he

were a public safety problem, the Court would have evidence of it by now.

It doesn’t because he’s not a flight risk and he’s not dangerous. Better still,

the risk-window is closing because his pretrial release ends—at the latest—

the week of May 15 after the trial results in verdicts. Or, if he pleads before

trial, the period is even shorter. Put another way, opening statements are 96

days away. The chances that he’ll go completely off the rails in these last

three months are remote.

      2.     The Court should acknowledge too that it’s not as if these

conditions are among Mock’s reasons for his successful run on pretrial

release. He’s had a successful run on pretrial release because he’s

responsible and knows how to follow rules—and does. Even if he did want

to flee—and he doesn’t—he doesn’t have the capital for it. If he did have the

necessary wealth, counsel wouldn’t have been appointed for him. Flight is

not realistic, and he knows it’s not realistic. He also knows the stakes. His

guidelines range is only a few years, and his pretrial detention gives him

nearly 12 months credit already. As a practical matter, the couple years in

play make it silly to run. He’d be punished more severely for absconding

than he would for the charges he’s facing.


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      3.     Finally, the Court has ample evidence that Mock isn’t a

significant danger. It has allegations of violence from a single day two years

ago. Troubling allegations, no doubt. But he hasn’t run afoul of the law in

the 260 days he’s been out. Better still, he managed a challenging situation

during his months in Virginia with his third-party custodian. He’s shown

the Court that he knows how to deal with conflicts in responsible and

effective ways.

      4.     The bottom line is that the GPS monitoring and curfew

conditions are overkill for Mock’s risk-profile. The Bail Reform Act directs

the Court to seek the least restrictive set of rules consistent with the Act’s

goals of ensuring defendants show up and don’t endanger the community.

His eight months of compliance—not to mention his visible enthusiasm and

engagement during hearings—should persuade the Court that what may

have been necessary back in May 2022 isn’t necessary today. The Court

knows much more about him than it did then. The facts are different, so the

conditions should be different.




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     Dated at Madison, Wisconsin, this February 8, 2023.

                                         Respectfully submitted,


                                         Peter R. Moyers
                                         Peter R. Moyers
                                         Counsel for Mr. Mock

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